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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                              EASTERN DIVISION

ANDY C. NOWELL, #304147,                       )
                                               )
      Petitioner,                              )
                                               )
      v.                                       )   CIVIL ACT. NO. 3:17-cv-873-ECM
                                               )
WALTER MYERS, et al.,                          )
                                               )
      Respondents.                             )

                         MEMORANDUM OPINION and ORDER

      On October 26, 2020, the Magistrate Judge entered a Recommendation that the

Petitioner’s habeas petition be dismissed with prejudice (doc. 28) to which no objections

have been filed. Upon an independent review of the file, upon consideration of the

Recommendation, and for good cause, it is

      ORDERED that the Recommendation of the Magistrate Judge is ADOPTED, the

petition for writ of habeas corpus is DENIED, and this case is DISMISSED with prejudice.

      Done this 11th day of January, 2021.


                                        /s/ Emily C. Marks
                                  EMILY C. MARKS
                                  CHIEF UNITED STATES DISTRICT JUDGE
